                Case 23-11240-TMH        Doc 10       Filed 08/26/23   Page 1 of 2




                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

 In re:                                           )
                                                  )       Chapter 11
 Phoenix 1040 LLC,                                )
                                                  )       Case No. 23-11239 (TMH)
                  Debtor.                         )
                                                  )
 Tax I.D. No. XX-XXXXXXX                          )
                                                  )
 In re:                                           )       Chapter 11
                                                  )
 AMERIFIRST FINANCIAL, INC.,                      )       Case No. 23-11240 (TMH)
                                                  )
                  Debtor.                         )
                                                  )
 Tax I.D. No. XX-XXXXXXX                          )

                  MOTION AND ORDER FOR ADMISSION PRO HAC VICE

          Pursuant to Local Rule 9010-1 and the below certification, counsel moves the admission

pro hac vice of Razmig Izakelian of Quinn Emanuel Urquhart & Sullivan, LLP to represent RCP

Credit Opportunities Fund Loan SPV (Fund III), L.P. and RCP Customized Credit Fund (Fund-

IV-A), L.P. (collectively “RCP”) in the above-captioned cases.


Dated: August 26, 2023                       POTTER ANDERSON & CORROON LLP
      Wilmington, Delaware
                                             /s/ Katelin A. Morales
                                             Katelin A. Morales (No. 6683)
                                             1313 North Market Street, 6th Floor
                                             Wilmington, Delaware 19801
                                             Telephone: (302) 984-6026
                                             kmorales@potteranderson.com




10985571v.1
                 Case 23-11240-TMH        Doc 10      Filed 08/26/23    Page 2 of 2




              CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE

         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the Bar of the State of California and

submit to the disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the

preparation or course of this action. I also certify that I am generally familiar with this Court’s

Local Rules and with the Standing Order for District Court Fund revised August 31, 2016. I

further certify that the annual fee of $25.00 has been paid to the Clerk of Court for the District

Court.


Dated: August 26, 2023                        QUINN EMANUEL URQUHART &
                                              SULLIVAN, LLP

                                              /s/ Razmig Izakelian
                                              Razmig Izakelian
                                              865 Figueroa St., 10th Floor
                                              Los Angeles, California 90017
                                              Telephone: (213) 443-3000
                                              razmigizakelian@quinnemanuel.com


                                 ORDER GRANTING MOTION

         IT IS HEREBY ORDERED that counsel’s motion for admission pro hac vice is granted.




                                                  2

10985571v.1
